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                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


 JENNIFER COUSINS, et al.,

               Plaintiffs,
                                                   Case No. 6:22-cv-1312-WWB-LHP
        vs.

 SCHOOL BOARD OF ORANGE COUNTY,
 FLORIDA,

               Defendants.




                   PLAINTIFFS’ REQUEST FOR ORAL ARGUMENT
                           AND EVIDENTIARY HEARING

       Pursuant to Rule 3.01(h) of the Middle District of Florida Local Rules, Plaintiffs

respectfully request an oral argument and evidentiary hearing on their Motion for

Preliminary Injunction ECF No. 45. Plaintiffs anticipate that approximately three (3) hours

will be required for the hearings.


       Respectfully submitted this 26th day of August 2022.

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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on August 26, 2022, I electronically served the foregoing

document on all counsel of record through the Court’s CM/ECF filing system.


                                       By: /s/ Debra A. Dandeneau
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